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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Feng Gao
                                                     Plaintiff,
v.                                                                Case No.: 1:21−cv−04055
                                                                  Honorable Sharon Johnson
                                                                  Coleman
Partnerships and Unincorporated Associations
Identified on Schedule "A", The, et al.
                                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 19, 2022:


         MINUTE entry before the Honorable Young B. Kim: Defendants' motion to stay
discovery and related discovery motions [86] is denied. Although Defendants are correct
that they are entitled to file motions for summary judgment at any time, that entitlement
does not then mean that motions for summary judgment should be resolved before the
close of discovery or that discovery should be stayed. Also, the court has often stayed
expert discovery pending the resolution of summary judgment motions on issues of
liability when such discovery pertained only to damages because a stay in these situations
makes sense. But, in this case, Defendants' self−serving conclusory assertions in their
motion that Plaintiff does not need any more fact or expert discovery before a ruling on
the recently filed motion for partial summary judgment is simply not enough to persuade
this court to stay discovery. That said, if Plaintiff agrees−−−after having fully considered
the motion for partial summary judgment−−−that discovery should be stayed, the parties
may file a joint motion. Mailed notice (ec)




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